






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       





NO. 3-92-271-CR





TERRY LEE HENLEY,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT



NO. 7648, HONORABLE HAROLD R. TOWSLEE, JUDGE PRESIDING


                       





PER CURIAM

	The district court found appellant guilty of voluntary manslaughter and assessed
punishment at imprisonment for eighteen years.  Tex. Penal Code Ann. § 19.04 (West 1989).

	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
Gainous v. State, 436  S.W.2d 137 (Tex. Crim. App. 1969); Jackson v. State, 485  S.W.2d 553
(Tex. Crim. App. 1972); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); High v.
State, 573  S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.

	We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.

	The judgment of conviction is affirmed.




[Before Chief Justice Carroll, Justices Aboussie and Jones]

Affirmed

Filed:   June 30, 1993

[Do Not Publish]


